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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address


    Duy Thai, SBN 157345
    Duy Thai Law Firm
    One Embarcadero Center, Suite 1020
    San Francisco, California 94111
    tel.: 415 296-9927
    fax: 415 230-5779
    duy@duythai.com




         Individual appearing without an attorney
         Attorney for: Charles Li

                                              UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

    In re:                                                                      CASE NO.: 8:19-bk-14452-MW
    818 Green Street, LLC
                                                                                CHAPTER: 7



                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                                                                                UNDER 11 U.S.C. § 362
                                                                  Debtor(s)


PLEASE TAKE NOTE that the order titled GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11
U.S.C. § 362 ( REAL PROPERTY) was lodged on (date) 6/9/20 and is attached. This order relates to the motion which is
docket number 25.




1
    Please abbreviate if title cannot fit into text field.

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 tel.: 415 296-9927
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 duy@duythai.com




      Attorney for Movant
      Movant appearing without an attorney

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:19-bk-14452-MW
                                                                              CHAPTER: 7

 818 Green Street, LLC                                                                  ORDER GRANTING MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC
                                                                                         STAY UNDER 11 U.S.C. § 362
                                                                                             (REAL PROPERTY)

                                                                              DATE: June 8, 2020
                                                                              TIME: 9:00 am
                                                                              COURTROOM: 6C
                                                                              PLACE: 411 West Fourth Street, Santa Ana, CA 92701


                                                              Debtor(s).

 Movant:               Creditor Charles Li



1. The Motion was:                  Opposed               Unopposed               Settled by stipulation

2. The Motion affects the following real property (Property):

    Street address:        768 38th Avenue
    Unit/suite number:
    City, state, zip code: San Francisco, California 94121

    Legal description or document recording number (including county of recording):



          See attached page.


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3. The Motion is granted under:
      a.         11 U.S.C. § 362(d)(1)
      b.         11 U.S.C. § 362(d)(2)
      c.         11 U.S.C. § 362(d)(3)
      d.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                 creditors that involved:
           (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                      secured creditor or court approval; and/or
           (2)        Multiple bankruptcy cases affecting the Property.
           (3)        The court        makes      does not make         cannot make
                      a finding that the Debtor was involved in this scheme.
           (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
               order shall be binding in any other case under this title purporting to affect the Property filed not later than 2
               years after the date of the entry of this order by the court, except that a debtor in a subsequent case under
               this title may move for relief from this order based upon changed circumstances or for good cause shown,
               after notice and a hearing. Any federal, state or local government unit that accepts notices of interests or
               liens in real property shall accept any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set forth in Exhibit                   to this order.
      c.         Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                 remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or property of the
           estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not conduct a foreclosure sale of the Property before (date)                                      .

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Agreement
           contained within this order.

8.         In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
           entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, as
           to the same terms and conditions as to the Debtor.

10.        The 14-day stay as provided in FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.

12. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
    modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its servicing
    agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.



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13. Upon entry of this order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
    Code § 2920.5(c)(2)(C).
14.         A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
15.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.
16.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
17.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
18.         Other (specify):




                                                                             ###




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                                       ADEQUATE PROTECTION AGREEMENT
                                (This attachment is the continuation page for paragraph 7 of this order.)

The stay remains in effect subject to the following terms and conditions:

1.        The Debtor tendered payments at the hearing in the amount of $                                                .

2.        The Debtor must make regular monthly payments in the amount of $                      commencing (date)
                        . The amount of these payments may be subject to change under the terms of the parties’ original
          agreements. All payments due Movant under this Adequate Protection Agreement must be paid to Movant at the
          following address:




3.        The Debtor must cure the postpetition default computed through                                      in the sum of
          $                      as follows:

     a.        In equal monthly installments of $                                      each commencing (date)                             and
               continuing thereafter through and including (date)                            .
     b.        By paying the sum of $                                     on or before (date)                       ,
     c.        By paying the sum of $                                     on or before (date)                       ,
     d.        By paying the sum of $                                     on or before (date)                       ,
     e.        Other (specify):



4.        The Debtor must maintain insurance coverage on the Property and must remain current on all taxes that fall due
          postpetition with regard to the Property.

5.        The Debtor must file a disclosure statement and plan on or before (date)
          The disclosure statement must be approved on or before (date)
          The plan must be confirmed on or before (date)

6.        Upon any default in the terms and conditions set forth in paragraphs 1 through 5 of this Adequate Protection
          Agreement, Movant must serve written notice of default to the Debtor and the Debtor’s attorney, if any. If the
          Debtor fails to cure the default within 14 days after service of such written notice:

     a.        The stay automatically terminates without further notice, hearing or order.
     b.        Movant may file and serve a declaration under penalty of perjury specifying the default, together with a
               proposed order terminating the stay, which the court may grant without further notice or hearing.
     c.        The Movant may move for relief from the stay upon shortened notice in accordance with LBRs.
     d.        The Movant may move for relief from the stay on regular notice.

7.        Notwithstanding anything contained in this Adequate Protection Agreement to the contrary, the Debtor shall be
          entitled to a maximum of (number) ______ notices of default and opportunities to cure pursuant to the preceding
          paragraph. Once the Debtor has defaulted this number of times on the obligations imposed by this order and has
          been served with this number of notices of default, Movant is relieved of any obligation to serve additional notices
          of default or to provide additional opportunities to cure. If an event of default occurs thereafter, Movant will be
          entitled, without first serving a notice of default or providing the Debtor with an opportunity to cure, to file and
          serve a declaration under penalty of perjury setting forth in detail the Debtor’s failures to perform under this

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        Adequate Protection Agreement, together with a proposed order terminating the stay, which the court may enter
        without further notice or hearing.

8.      This Adequate Protection Agreement is binding only during the pendency of this bankruptcy case. If, at any time,
        the stay is terminated with respect to the Property by court order or by operation of law, this Adequate Protection
        Agreement ceases to be binding and Movant may proceed to enforce its remedies under applicable
        nonbankruptcy law against the Property and/or against the Debtor.

9.      If Movant obtains relief from stay based on the Debtor’s defaults under this Adequate Protection Agreement, the
        order granting such relief will contain a waiver of the 14-day stay as provided in FRBP 4001(a)(3).

10.     Movant may accept any and all payments made pursuant to this order without prejudice to or waiver of any rights
        or remedies to which Movant would otherwise have been entitled under applicable nonbankruptcy law.

11.     Other (specify):




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                                                                    EXHIBIT A


Common Street Address: 768 38th Avenue, San Francisco, CA 94121
APN#: 1607-017

Situated in the County of San Francisco, State of California: Beginning at a point on the easterly line of Thirty-
Eighth Avenue, distant thereon 50 feet northerly from the northerly line of Cabrillo Street, running thence
northerly along said line of Thirty-Eight Avenue 25 feet; thence at a right angle easterly 120 feet; thence at a
right angle southerly 25 feet; thence at a right angle westerly 120 feet to the point of beginning.

Being portion of Outsideland Block No 344.




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

402 West Broadway, Suite 400, San Diego, CA 92101

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_6/9/20______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

Kevin Tang (kevin@tang-associates.com)
Weneta M Kosmala (ecf.alert+Kosmala@titlexi.com)
United States Trustee (ustpregion16.sa.ecf@usdoj.gov)

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) ____6/9/20___________, I served the following persons and/or
entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
is filed.

818 Green Street, LLC                                                             Hon. Mark S. Wallace
135 S. State College Blvd, Suite 200                                              United States Bankruptcy Court
Brea, CA 92821                                                                    411 West Fourth Street, Suite 6135 / Courtroom 6C
                                                                                  Santa Ana, CA 92701-4593
                                                                                        Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/9/20                               NORAH RAFIEI
 Date                          Printed Name                                                    Signature




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                                                PROOF OF SERVICE CONTINUATION PAGE
                                                    IN RE 818 GREEN STREET, LLC
                                                     CASE NO. 8:19-BK-14452-MW




Tina Yan (interested party)                                                  Thai Ming Chiu (interested party)
1433 7th Avenue                                                              768 38th Avenue
San Francisco, CA 94122                                                      San Francisco, CA 94121
US Bank                                                                      Bank of America, N.A.
c/o Irving Street                                                            PO Box 26249
PO Box 790179                                                                Tampa, FL 33623
Saint Louis, MO 63179
U.S. Trustee
United States Trustee (SA)
411 W Fourth St., Suite 7160
Santa Ana, CA 92701-4593




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